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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff(s),                      CASE NO. 11-20078
v.
                                               HONORABLE AVERN COHN
D-1, TARIQ MAHMUD, D-2 and
VICTOR JAYASUNDERA,

            Defendant(s).
                                        /


                              ORDER DENYING MOTIONS


      For the reasons stated on the record on January 11, 2012 the following motions are

DENIED,

      •     Motion in Limine to Preclude Alleged 404(b) Evidence (Doc. No. 69);

      •     Motion for Additional Discovery (Doc. No. 79);

      •     Second Motion in Limine to Preclude Alleged 404 (b) Evidence or in the
            Alternative to Dismiss the Superseding Indictment (Doc. No. 94);

      •     Motion to Dismiss Count 1 of the First Superseding Indictment as Duplicitous
            (Doc. No. 96);

      •     Motion for Bill of Particulars (Doc. No. 97);

      •     Motion to Compel Discovery (Doc. No. 98);

      •     Motion to Severance (Doc. 100).

      SO ORDERED.



Dated: January 11, 2012                     s/Avern Cohn
                                            AVERN COHN
                                            UNITED STATES DISTRICT JUDGE

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                                        11-20078-01, 03 USA v. Mahmud, Jayasundera
                                                               Order Denying Motions




                             CERTIFICATE OF SERVICE


I hereby certify that a copy of the foregoing document was mailed to counsel of record on
this date, January 11, 2012, by electronic and/or ordinary mail.


                                          s/Julie Owens
                                         Case Manager
                                         (313) 234-5160




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